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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      CRIMINAL NO. 18-260 (ABJ)
                                            :
W. SAMUEL PATTEN,                           :
                                            :
                      Defendant.            :


                                    NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this notice of filing. On December 31, 2018 the

government filed a Joint Status Report Under Seal in the above-captioned case.


                                                   Respectfully submitted,

                                                   JESSIE K. LIU
                                                   United States Attorney
                                                   D.C. Bar No. 472-845


                                            By:              /s/
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